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                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Colorado

                  In the Matter of the Search of                      )
              (Briefly describe the property to be searched
              or identify the person by name and address)
                                                                      )      Case No. 25-sw-583-TPO
                                                                      )
      One black iPhone 16, currently sealed in Homeland               )
      Security evidence bag # A1560028, and one black                 )
      iPhone 16 sealed in Homeland Security evidence bag              )
      # A1560027, both currently held in the Homeland                 )
      Security Investigations Colorado Springs evidence
      room and more fully described in Attachment A,
      attached hereto.

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

                                                , which is attached to and incorporated in this Application and Affidavit

located in the District of Colorado, there is now concealed (identify the person or describe the property to be seized):

                                               , which is attached to and incorporated in this Application and Affidavit

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      evidence of a crime;
                      contraband, fruits of crime, or other items illegally possessed;
                      property designed for use, intended for use, or used in committing a crime;
                      a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:

                    Code Section                                              Offense Description
       18 U.S.C. § 922(g)(5)                          Unlawful Possession of Ammunition by Alien Admitted Under a Nonimmigrant Visa

          The application is based on these facts:

             Continued on the attached affidavit, which is incorporated by reference.
             Delayed notice of      days (give exact ending date if more than 30 days:                                 ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                       __s/Adam Jennings____


                                                                                       SA Adam Jennings, HSI
                                                                                              Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.
Date:

                                                                              Timothy P. O'Hara
City and state: Denver, CO                                                    United States Magistrate Judge
                                                                                                       Printed name and title
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